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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION



 BERKENHOFF GMBH,

                                  Plaintiff,

             v.                                      Civil Action No. 1:18-cv-01873

 OPEC ENGINEERING CO., LTD.                          JURY TRIAL DEMANDED
 OPECMADE, INC.

                                  Defendant.



                                     INITIAL STATUS REPORT

            Plaintiff Berkenhoff GmbH (“Berkenhoff”) and Defendants Opec Engineering Co., Ltd.

and Opecmade, Inc. (collectively, “Opec”) hereby jointly submit this initial status report

pursuant to the Court’s June 19, 2018 Order (D.I. 15).

            1. Nature of the Case:

                  A. Attorneys of record:

                          i. Plaintiff Berkenhoff – Reginald J. Hill (lead trial counsel), Benjamin J.

                             Bradford, Ian M. Moodie and Ren-How H. Harn.

                         ii. Defendants Opec Engineering Co., Ltd. and Opecmade, Inc. – John K.

                             Park, Mark L. Sutton, Michael J. Park and Samuel S. Bae.

                  B. Service – Service on Opec was completed on June 8, 2018.

                  C. Basis for Federal Jurisdiction – jurisdiction is founded on 28 U.S.C. §§ 1331

                      and 1338(a).




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                   D. Nature of the claims and counterclaims, including relief sought – patent

                       infringement under 35 U.S.C. § 271. Defendants have not filed an answer or

                       counterclaim yet.

                   E. Major legal and factual issues in the case:

                            i. Legal issues:

                                   o Whether Opec’s wires infringed one or more claims of

                                       Berkenhoff’s patent.

                                   o Whether Opec willfully infringed one or more claims of

                                       Berkenhoff’s patent.

                                   o Whether Berkenhoff’s now expired patent was valid and

                                       enforceable.

                                   o Whether the case is exceptional under 35 U.S.C. § 285.

                            ii. Factual issues:

                                   o Whether Opec’s accused products meet each and every

                                       limitation of one or more claims of Berkenhoff’s patent.

                                   o Whether Berkenhoff’s patent was novel and non-obvious.

                                   o Whether Berkenhoff’s patent complied with the requirements

                                       of 35 U.S.C. § 112.

            2. Mandatory Initial Discovery Pilot Project – inapplicable to this patent case.

            3. Case Plan:

                   A. Pending motions – none.




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              B. Defendants’ intent on how it will respond to the complaint – Defendants have

                 not yet decided whether to answer or otherwise plead to the complaint, which

                 is due by July 28, 2018.

              C. Discovery Plan:

                     i. Type of discovery needed – this case is expected to require written and

                        oral fact discovery as provided under the Federal Rules of Civil

                        Procedure, the Local Rules, and the Local Patent Rules. Expert

                        discovery is also expected to be necessary in this case.

                     ii. ESI Discovery – this case may require ESI discovery and, if so, shall

                        be produced in accordance with the Local Patent Rules for

                        Electronically Stored Information.

                    iii. Issues about privilege or protection – no issues are currently known or

                        anticipated.

                    iv. Date of Rule 26(a)(1) disclosures – within fourteen (14) days of the

                        date when all defendants answer or otherwise respond to the

                        complaint.

                     v. Completion of fact discovery – the case schedule is governed by the

                        Local Patent Rules and the close of fact discovery can be set in

                        accordance to those rules.

                    vi. Expert disclosure deadlines – these deadlines can also be set in

                        accordance with the Local Patent Rules.

                   vii. Changes in discovery limitations – no known changes are currently

                        known or anticipated.



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                        viii. [N/A]

                          ix. Dispositive motion deadline – this deadline can also be set in

                              accordance with the Local Patent Rules.

                   D. Berkenhoff requests a jury trial and estimates that the trial shall take no longer

                       than one trial week.

            4. Settlement

                   A. Settlement discussions – the parties discussed settlement leading up to the

                       filing of the Bedra Litigation, but were unsuccessful in reaching a resolution.

                   B. Settlement conference – a settlement conference may be helpful at a later

                       stage of the case.

            5. Consent to Proceed Before a Magistrate – at this time, the parties do not consent.

Dated: July 13, 2018                                 Respectfully Submitted,

                                                     BERKENHOFF GMBH

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